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DANIEL G.BOGDEN                                               JIJ!
                                                                 -          2010
U nited Su tes Attonwy
LUCAS M .FOLEW A                                                                k-q'ï-1
AssistantUnited StatesAttorney                             ZLEFI8 LIS DiF-
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333 Lxs VegmsBlvdo Sw Sm'te 5000                              DISI8lS)'OFNEJVAt   'A
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(702)388-6050

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                  D IST R IC T O F N E V A D A
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UNITED STATESOFAM ERICA,                     )    CRIM INAL INFORM ATION
                                             )
                     PLM NRRFF,              )    CASE N0. 2:1O-crsO0319-JCM-PAL
                                             )
VS.                                          )    VIOLAX ON;
                                             )
PARKER ENLOE,                                )    18U.S.C.j1349-ConspiracytoCommit
                                             )    M ail,W H andBaukFraud
                     DEFEN DAN T.


TH E W   H D STAR SAW OG           Y FOR M    DISTW CTOFM VM A CH ARGESTH AT:

                                      COUNT ONE
                      Conspiracy to CommitM ail,W ireand Bank Fraud
                Fm m on oraboutJanuazy 1,2006,to on oraboutApril31,2009,i!ztlze Federal

D istrictofN evadw
                                    PAQK ER EN LO E,
defendanthereia didknowingly,willfally,andunlawfallyconspiretocomm itthefollawingoFenses
againx'tthelawsoftheUnited Shtes,namely,M ailaW ire,and Bank Fraud,in violation ofTitle 18,
United States Code,Sections 1341,1343 and 13M .
       Case 2:10-cr-00319-JCM-PAL Document 3 Filed 07/16/10 Page 2 of 6




1                                    TheObiectoftheConsoiracv                                       I
                                                                                                    i
2            2.     Theobjectoftheconspiracywmsforthedefendantandthedefendants                      j
                                                                                                    i
3 coconspiratorsto obtain residentialmortgagesby fraudulentm eansand to tksepartoftheproceeds       ;
                                                                                                    i
4    9om the m ortgagesfortlleirpersonaluse.
5                                   M anner.M eansand OvertActs
6            3.     Themnnnerandmeansbywilichtheobjectivesofthecenspiracywere
7    accom plished hlclude,butwerenotlimited to,the following,which actsconstimte overtactsin

8 fttrtheranceofthecomspicacy.
9                   a.     'Ihedefendantandhiscoconsphatorts)solicitedm opletobethebuyersof
10 hotusesinnm eonly(ttstraw buyers'')whiletlledefendantandtlledefendant'scoconspirators
11 intended tocontroltheownership interestsofthehousesand divertm oney from them ortgage
12   loansused to purclmse tbose houses fortheirown use.
13                  b.     Thedefendantandthedefendanfs coconspiratorscaused stzaw buyersto
14 apply form ortgage loansto purchasepropeï es.
15                  c.     '
                           Ihe defendantandthedefendant'scoconspiratorsknowingly caused
16 m nteriallyfalse inform ation tobeplaced in the straw buyers'm ortgage loan applicationsand
17 supporting documentauon,includingbutnotlhnited to the following:thestraw buyers'placesof
18 employm entvincom e,mssetsyintentto livein thehouses,and theappraised valueofthehotlses.
19                  d.     The defendantcaused the loan applications arld supporting docum entsto
20 be subm itted to m ortgage companiestbatwerefedemlly insured andto m ortgage companiesthat

21 w ere notfederally m
                      ' mlred.
22                   e.     Thedefendantcatksed mortgagecompaniesand Gnnncialirkstitutionsto
23 trnnnm ittbrough interstatewire communicadorks,certninm atters,such aswiretranqfersto fund the

24 m ortgages.
25                   f.     Thedefendantcaused cerfxin mattersperfnining to them ortgageleansto
26 be sentthrough them ailsandby com meycialinters'tatecarriers.

                                                   2
       Case 2:10-cr-00319-JCM-PAL Document 3 Filed 07/16/10 Page 3 of 6




1                    g.     M ore specihcally,on or about February 26,2009,the defendantand his          1
                                                                                                         I
                                                                                                         I
2 cocomspiratorsfalsely and fraudulently subm itted a loan application to Am TI'G Bank.allFDIC           I
3 insuredfinancialinstitution,onbeimlfofV.P.,whoactedasastraw buyer,forthepurposeofsecllring
                                                                                                         )
                                                                                                         j
                                                                                                         1
4    fundingforam ortgagetofinancethepurchmseof6789Kosm erStreetrLasVegas,Nevada.Defendant               i
                                                                                                         :
5 and hiscoconspiratorsfilrthercattsed amaterialznisrepresentationtobem adeon theapplication by
6 falsely and fraudulently catlsing to be statedthere tllatV .P.wasproviding the down paym ent.when
7 th% then alld th% knew the defendant m ovided the down payment that the defendant was
8 reim bursed through loan proceedsand thathe filrfberwaspaid outofloan proceedsto providethe

9    dow n paym ent.
10                     h.   The subm ission oftlle loan application and them aterialm isrem esentation

11 relatingtothedown pam entcaused:(a)theescrow forthepurchaseof6789 KosGerSkeettobe
12 closed;(b)themortgageloantofmance6789 KosmerSkeettobeissuedfrom AmTIMS'tBank,an
l3 FDIC insuredfmancialinstitution;and(c)mnilingstobesentandwirecornmunicationstobemade
14   ofm attersrelated to the loan issued to tinance 6789 Kosm er Skeet.
15                     i.   In addition to theforegoing,on oraboutthe following dates,in fmtherance

16 oftheconspiracyandtoeffecttheobjectsoftheconspiracy,atleastonememberoftheconspiracy
l7 mzbmitted,and caused to be subrnitted,aloanapplication andsupportingdocumenGtion contnlning
18 m ateriallyfalseand Faudulentrepresentationstoobtninm ortgageloans,andfurthercaused m ailings
19 to be sentand wire cornrnunicationsto be m ade ofm atters related to tlle loans,to purchase the

20 follow ing properties:
21           Date:                       Prooertv:                            Lender:
22            0353/09             8270 Amtmk,LmsVegas,W                       JIM AC Lending
23            04/02/09            9132 FttsionmLmsVega'
                                                      s,N V                   PM C Bancom                i
                                                                                                         !
24                     j.   ln additiontothernisrepresenGtionsdescribedabove,tlledefendantandhis         @
                                                                                                         1
25 coconsphatolsdivertedproceedsofthemortgagesfortlleirownuse.                                           I
                                                                                                         i
26                                                                                                       I
                                                                                                         i
                                                                                                         I
                                                                                                         I
                                                     3                                                   I
                                                                                                         1
                                                                                                         /
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                                                                                                         l
                                                                                                         i
                                                                                                         l
  Case 2:10-cr-00319-JCM-PAL Document 3 Filed 07/16/10 Page 4 of 6




                k.    Irl11ofthe aforem entioned actionsthe defendantacted w1t.11the intentto

defraud.
        A llin violation ofTide 1#,U nited SG tes Cade,Section 1349.

                          FORFEITURE ALLEGATION O NE
                      Com piracy to Comm itM ail,W ire,andBank Fmud
           1.   n eallegatioztsconfnined in CountOne oftllisCriminnlInform ation arehereby
realleged and incorpozatedherein by reference forthepurpose ofalleging forfeiturepursttanttothe

provisionsofTitle18,UnitedSGtesCode,Section982(a)(2).
                Upon a convicuon ofthefelony offensescharged in CotmtOne oftltisCrim inal

lnform ationv
                                     PAQ K ER EN LO E ,
defendantherein,shallforfeittotlleUnited StatesofAm ericapany property constituting,orderived
âom.proceedsobtnineddirectlyorindirectlyasaresultofviolationsofTitle 18,United SutesCode,
Section 1341)Title18,UnitedSmtesCode,Section 1343;Title18,UnitedStatesCode,Section 1344;
or Title 18,United Sutes Code,Section 1349,a conspiracy to comm itsuch ofenses,a cn'rninal

forfeituremoneyjudo entupto$10,000.00inUnitedSutesCurrency.
          3. IfarlypropertybeingsubjecttoforfeiturepllmllnnttoTitle18,United StatesCode,
Section982(a)(2),msaresultofanyactoromission ofthedefendant-
                a.     cnnnotbelocated upontheexerciseofduediligence;
                b.     hasbeen transferred orsold to,ordepositedV tI'
                                                                    I.athird party;

                c.     hasbeenplacebeyondthejurisdictionofthecourt;
                d.     hnRbeen substanfaily dl
                                             em inished in value;or
                e.     hasbeen com mingled w1111otherproperty tbatcannotbe divided without

                       dio culty;




                                               4
              Case 2:10-cr-00319-JCM-PAL Document 3 Filed 07/16/10 Page 5 of 6




         l itisthe intentoftheUrtited Staates ofAm erica,pursuantto Title 21yUnited StatesCode,Section

        2 8531)to seek forfeiture ofarly properties ofthe defendmztup to $10,000.00 in United States
        3 Currency.
        4            AllpursuanttoTitlel8,UnitedStatesCode,Section982(a)(2);Title18,UnitedStatesCode,
        5 Secdons1341,1343,1344,and 1349;andTitle21,United S'
                                                            tatesCode,Section853û9.
        6
                                       FORFEITITRE ALLEGATION > 0
        7                          Conspiracy to Com m itM ail,W ire,and Bnnk Fraud
         8           1.      The allegationscoptnined in CountOne oftltis CriminalH brm ation are hereby
        9 realleged and incorporated herein by reference forthe puzpose ofalleging forfeiture pulsllantto the

        10 provisiom ofTitle18,UnitedStatesCode,Section981(a)(l)(C)andTitle28,United StatesCode,
        1l Section2461(c).
        12           2.      Upon conviction ofthe felony offenses charged in Count One ofthis Criminal

        13   lnform ationo
        14                                        PAQKER ENLOE,
        15 defendnnthereinvshallforfeittotheUnited SutesofAm eriea any property constituting,orderived
        16   âom ,proceedstraceabletoviolationsofTitle 1#,United StatesCode,Section 1341;Title 18,United
        17 Su tes Code,Secuon 1343,
                                  *Title 18,United States Code,Section 1344;or Title 18,United States

i       18 Code,Section 1349,aconspiracytocommitsuchoffenses,acn'minnlforfeituremoneyjudo entup
        19 to $10,000.00 in United StatesCurrency.
!
ë       20            3.     IfanypropertysubjecttoforfeitureplzrmlnnttoTitle18,UnitedStatesCode,Section
        21 981(a)(1)(C)andTitle28,UnitedStatesCode,Secdon2461(c),asaresuh ofanyactoromissionof
!       22 the defendnnt-
)
i
    '   23                   m      cannotbe located upon theexerciseofdue diligence;
        24                   b.     hmsbeen transferred orsoldto,ordeposited W tI'
                                                                                 :athird party;
l
I       25                   c.     hmsbeenplacedbeyondthejurisdictionofthecoutt
!
        26                   d.     hasbeen subKtnntially dlmlnlshed in value;or

E                                                           5
      Case 2:10-cr-00319-JCM-PAL Document 3 Filed 07/16/10 Page 6 of 6




1                   e.        hasbeen comm ingled with otherproperty thatcazmotbe divided without

2                             difliculty;
3 itisthe intentoftlle United StatesofAm ericw pursuantto Title 21,United SutesCode,Section

4 853(.
      1$,to seek forfeiture ofany propertiesofthe defendantup to $f0,000.00 in United Steztes
5    Cunrncy.
6            A1lpursuanttoTitle1% UnitedStatesCode,Section981(a)(l)(C)andTitle28,UnitedSutes
7 Code,Section246l(c);Title18,UnitedStatesCode,Sectionsl341,1343,l344,and1349;andTitle
: 21,UnitedStatesCode,Section 853û9.
9
10 DATED:this 17th day ofJtme,2010.
11
   DANIEL G.BOGDE'        N
12 U rlited StatesA ttorney
13
14                                          M
   LUCAS . OLEW A
15 A ssidantU nited StatesAttom ey
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